  Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 1 of 21




EXHIBIT G
      Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 2 of 21
                                                                                      #2016-16
OFFICE OF THE IMPARTIAL CHAIRPERSON
                                                                                   Carter Hotel
    321 WEST 44TH STREE1 SUITE 400                                                 April 5. 2016
          NEWYORK,NY1O03
                                                                                   Page 1 of 12
  TEL: (212) 5414212 FAX: (212) 541-9356


EMPLOYER:        CARTER HOTEL

            HTC Case #U 15-130/ Emergency hearing requested by the New York Hotel & Motel
            Trades Council, AFL-CIO, against the Carter Hotel re, Improper Layoff in Violation of the
            WA and the Law including violations of Articles 17,45 and 61 of the IWA.

            3/25/15 AMENDED COMPLAINT: Emergency hearing requested by the New York
                    -




            Hotel & Motel Trades Council, AFL-CIO again the Carter Hotel re: Improper Layoff in
            Violation of the tWA and the Law including violations of Articles 17, 45 and 61 of the
            I WA.

            HTC Case #U15-228/ Hearing requested by the New York Hotel and Motel Trades
            Council, AFL-CIO (“Union”) against the Carter Hotel for failure and refusal to provide the
            Union with information since on or about April 20, 2015.

            Hearings held at the Office of the Impartial Chairperson on March 23. March 27,
            June 10.2015 and January 21. 2016.



APPEARANCES:

            For the Employer:                    Jon Cruz, General Manager

            Counsel for the Employer:            Clifton Budd & DeMaria, LLP
                           By:                   Arthur J. Robb, Esq.

            Counsel for the Receiver:            Stroock & Stroock & Lavan. LLP
                                                 Beth A. Norton, Esq.



            For The New York Hotel & Motel Trades Council, AFL-CIO:
            Counsel:                           Pitta & Giblin LLP
                         By:                   Joseph F. Farelli, Esq.


                                                 Rolando Ruiz
                                                 Richard Maroko, Esq.

                                        *    *      *




                                   DECISION AND AWARD
        Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 3 of 21
                                                                                     #2016-16
  OFFICE OF THE IMPARTIAL CHAIRPERSON                                             Carter Hotel
      321 WEST 44TH STREET SUITE 4()                                              April 5. 2016
            NEWYORK,NY10036                                                       Page2ofl2
    TEL: (212) 541-7212 FAX: (212) 541-9356


                                          BACKGROUND

       On January 21, 2016 I held a combined hearing on cases numbered U15-130 and U15-
228. Hotel counsel presented no witnesses or testimony on the issues. He was accompanied
by the Hotel’s Director of Human Resources, Lilly Sirkin, who was not called upon to testify.
The attorneys for the Union, and the Hotel argued their respective positions before me and the
Union presented documentary evidence in support of its claims. Thereafter, both sides
presented Post Hearing Briefs, and the Union has presented a Reply Brief all of which have
been duly considered.
                                            ISSUES

       Three issues were dealt with at the January 21, 2016 hearing and a schedule for Briefs
and Reply Briefs was agreed to. I allowed both sides to submit with their Briefs any
documentary evidence in support of their position. I retained jurisdiction with regard to both
cases. The Three issues involved in these cases are:
    1. Severance pay due former employees as a result of the closing of the Hotel for
       renovations.
    2. The amount, if any, of money former Hotel employees are due resulting from any New
       York State WARN ACT liability incurred by the Hotel.
    3, What punitive damages, if any, should be assessed against the Hotel as a result of its
       non-compliance with the Union’s Request For Information?

        At the January 21, 2016 Hearing, the Union withdrew its request for punitive damages
resulting from non-payment of severance pay. At that Hearing, I allowed the Hotel 10 days to
object to any of the calculations submitted by the Union regarding severance pay and WARN
ACT violations. The Hotel has not submitted any objection to either of those calculations. In
its Brief dated March 2, 2016 it addresses as the only issue “The issue is whether the
Employers non-compliance [with the RFIJ is deserving of punishment in an amount exceeding
Three MWion Doflars,” This issue will be addressed in this Award after I rule on the issues of
severance pay and WARN ACT liability.




                                       SEVERANCE PAY

       Familiarity with my previous Awards in 2014 and 2015 with regard to this issue is
presumed and those Awards need not be set forth in detail herein. Suffice to say, that amor.g
other things, as a result of the layoffs of employees and the closing of the Hotel I found that the
Hotel had violated the contractual provisions of the IWA, to which it was bound de.aling with
             Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 4 of 21
                                                                                                      #2016-16
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           321 WEST 44TH STREE’I SUITE 400                                                         April 5. 2016
                  NEW YORK, NY 10036                                                               Page 3 of 12
          TEL: (212) 541-7212 FAX: (212) 541-9356


  severance pay. At the January 21, 2016 Hearing the Union submit
                                                                          ted a spreadsheet (Union
  Exhibit 2’), a copy of which is attached to this this Award, calculating
                                                                            the amount of severance
  pay due affected employees. The Union’s counsel stated that, “The
                                                                            Hotel has not paid a dime
  as of today’. The Hotel counsel did not dispute the Union’s claim,
                                                                         nor did its Director of
  Human Resources, who was present in the Hearing Room, claim
                                                                        otherwise. I gave the Hotel
  10 days after the date of that day’s hearing to object to the calcula
                                                                        tions. No objection was
  made by the Hotel,

        Accordingly, I order and direct the Hotel to pay severance pay in
                                                                           the amount of
 $52,007.01 to the Union, on behalf of those employees shown on Union
                                                                            Exhibit 2. I further
 order and direct the Hotel to pay the Union, on behalf of the variou
                                                                      s ‘Funds” the amount of
 $13,001.75, as required by the IWA, based on the amount of
                                                                severance pay, making a total to
 be paid by the Hotel of $65,008.76 for unpaid severance pay.

                                                 WARN ACT DAMAGES

        The issue is not whether there is any New York State WARN ACT
                                                                             liability on the Hotel
 as I have previously determined that there is liability. The issue is
                                                                       the amount of that liability.

        At the January 21, 2016 Hearing the Union submitted a spreadsheet
                                                                                  (Union Exhibit 3),
showing the amount of WARN ACT damages it claimed was due
                                                                      to each affected employee.
A copy of Union Exhibit 3 is attached to this Award. The Union
                                                                   also submitted (Union Exhibit
4). the New York State Regulations for calculations of the amoun
                                                                    t due for violation of the law.
The calculations were submitted by the Union to the Hotel on Augus
                                                                         t 18, 2015. The Union
calculated a civil penalty of $500.00 per day for each violation, for
                                                                       the maximum of 90 days for
each employee. The Hotel has made no payment at all for violating
                                                                         the law. Its position,
asserted at the January 21, 2016 Hearing is that the Hotel is not
                                                                    required to pay the civil
penalty that the law provides.

       Other than its assertion at the Hearing, and its contention at that
                                                                           Hearing that the New
York State Regulations are “vague” it has not addressed the WARN
                                                                       ACT civil penalty issue in
its 1
    Brief
    .

        I have studied Section 921-7.2 “Civil Penalty” of the New York State
                                                                               WARN ACT
Regulations. It clearly provides for a penalty of not more than
                                                                $500.00 for each day of the
employers violation, The regulation provides for an exception
                                                                from liabilities under certain
factual circumstances, which are not claimed by the Hotel to
                                                               be applicable in the facts of this
 .“1i   Ho tel     elven 1)   oIler the em Hooch the January 21. 2016 1-1earJn to ohlec’   -‘•••




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        Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 5 of 21
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  OFFICE OF THE IMPARTIAL CHAIRPERSON                                           Carter Hot&
      321 WEST 44TH STREF1, SUITE 4()                                           April 5, 2016
            NEWYORK,NY10036                                                     Page4ofl2
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 case. Nor, has the Hotel argued that a lesser penalty than $500.00 per day would be
 appropriate.

        I find no merit to the Hotel’s position with regard to the WARN ACT civil penalty.
Accordingly, I order and direct the Employer to pay the sum of $605,907.01 to the Union, on
behalf of the employees listed in Union Exhibit 3 for its violation of the WARN ACT. In
addition, I order and direct the Employer to pay the sum of $197,899.51 to the Union on behalf
of the “Funds” in accordance with the IWA.

                                     PUNITIVE DAMAGES

        Both the Hotel and the Union agree, that under the IWA the Impartial Chairperson may
award punitive damages for non-compliance with an information request. It is an undisputed
fact that on April 9. 2015 the Union served a Request For Information upon the Hotel, It is also
undisputed that the Hotel did not fully comply with the RFI, or seek to resolve any objection it
had to the RFI with the Union, It simply ignored it.

       Instead, the Hotel waited for the Union to bring the Hotel’s non-compliance before the
undersigned on June 11, 2015. At that time the Hotel presented its objections to the RFI
essentially arguing at the Hearing and in its Post Hearing Brief, that the information requested
was not relevant to the Hotel.

       I issued a Decision and Award on July 3, 2015 (#2015-38), in which I found that the
information requested by the Union in the RFI was relevant to its Collective Bargaining
Agreement rights and duties under Addendum IV of the Industry Wide Agreement, and that the
Hotel was obligated under the IWA and the National Labor Relations Act to fully comply with
the RFI within 10 days from July 3. 2015. On July 6, 2015, the Hotel requested a 30-day
extension of time to comply with the RFI. I denied that application.

       Thereafter, the Hotel did not move in court for a stay of my Award or to have the Award
vacated. The Hotel has admittedly not complied with my direction to furnish the information I
directed it to produce
               .
               4

      The Union grieved the Hotel’s non-compliance and a Hearing on this issue was
scheduled for this Office for September 17. 2015.
         Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 6 of 21
                                                                                                       #201616
  OFFICE OF THE IMPARTIAL CHAIRPERSON                                                               Carter Hotel
      321 WEST 44Th STREE1 SUITE O                                                                  April 5. 2016
            NEWYORK,,NY10036                                                                        Page5of1
    TEL: (212) 541-7212 FAX: (2123 541-9356

       The Hotel claims, in its Post Hearing Brief that, “the parties mutually agreed to stay
further proceedings before the Chairman as to the Employer’s compliance, because the parties
were engaged in ongoing settlement negotiations over a period of months”. The Union in its
Post Hearing Brief claims ‘the Union never engaged in any settlement discussion with the
Hotel or agreed to extend the time for the Hotel to comply with the RFI
                                                                      ”.
                                                                      3

              No request was ever made to this Office for a stay of my order to comply with the
RFI. and it remains in full force and effect.

      The Hotel has attached to its Post Hearing Brief a string of emails to this Office from the
representatives of the parties. The most supportive of the Hotel’s position is a September 17,
2015 email from “Roy, Desiree” that “Mr. Ward said that all litigation regarding the Carter
should be postponed for a few weeks”. The “litigation” referred to appears to be the hearing
scheduled for September 17, 2015 regarding non-compliance with the RFI,

       This email does not amount to an agreed upon “stay”. It is simply a request for an
adjournment. Thereafter, the Hotel requested a “courtesy” adjournment due to the Jewish
Holidays. This too was agreed to by the Union. Thereafter, on October 5, 2015 the Hotel
again requested another adjournment of the Hearing. The Union agreed to an October 22,
2015 new Hearing date “as long as your client can commit to meeting next week for settlement
discussions and to an arbitration hearing date of October 22, 201 5”.

       There is no evidence of what transpired between October 22, 2015 and December 15,
2015 but it is clear that no evidence has been presented that the Union agreed to a stay of my
order to produce the RFI information. The evidence shows only agreement to briefly postpone
the hearing mainly for reasons requested by the Hotel.

       On December 15, 2015 the Union’s attorney emailed the Hotel’s attorney “Please be
advised that your client refuses to sign the agreement we sent to him, we are withdrawing the
offer and proceeding to arbitration’.

       its clear from the December 15, 2015 email that settlement discussion involved the
Unions WARN ACT claim of $798,000.00, and was separate and apart from the severance
pay claim. There is neither witness testimony, nor documentary evidence to support the
Hotel’s contention that a stay was agreed to because of negotiations, or ongoing negotiations.


The nion sabre itted aion with its Repis Brief a copy of a proposed setdernent a reement with the I-inteL The proposal
  ered on iv See eranee Pay and       ACT damaces There was no mention c f the RF1 There was no meiit.ion of any
          Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 7 of 21
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  OFFICE OF THE IMPARTIAL CHAIRPERSON                                                          Carter Hotel
     321 WEST 44TH STREET, SUITE O                                                             April 5, 2016
            NEW YORK,                                                                          Page 6 of 12
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         The final piece of documentation submitted by the Hotel in support of its position “that
 the parties mutually agreed to stay further proceedings before the Chairman as to the
 Employers compliance, because the parties were engaged in ongoing settlement negotiations
 over a period, was a December 9, 2015 email from Mr. Chetrit, a principal of the Hotel. It
 states that he had not received a response to his email dated November 24, 2015. A copy of
 that letter is annexed hereto. As can be seen from the letter there is no mention of any
 mutually agreed upon stay regarding the RFI. In fact the only mention of an RFI in that letter is
 ambiguous reference to “RFI work to be performed”. There is no mention at all of the
 information Union requested regarding other matters.

        On December 15, 2015, as noted here to before, the Union notified the Hotel’s attorney
that the Union withdrew its settlement offer and was proceeding to arbitration.

       After reviewing the evidence I find no merit to the Hotel’s contentions that the Union
agreed to a mutual stay with regard to the RFI. At best the evidence shows there was some
settlement negotiation regarding severance pay and WARN ACT damages, and
postponements of a hearing, but no evidence the RFI information requested by the Union,
ordered to be produced by the undersigned from the Hotel was involved in, or was even part of
the settlement negotiations.

     I turn now to the issue as proposed in the Hotel’s Post Hearing Brief “whether the
Employers non-compliance is deserving of punishment” and if so, in what amount.

           Addendum IV Section 3, of the IWA provides in pertinent part that,
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I )( ‘t’ npo\\ tied        issue such remedial orders as are consistent with applicable Xl RB standards anti
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  I c. r mi ral e.ri.vi rr.inmeiit an.d/or to penalize, the Hotel or the L’mon for vlolatlng their obligations
.h ereuncier, inchidmg an order t.t.’.i baraain in accordance with applicable NLR.’B standards, and/or
  ineta (‘V   (1’   1 \.‘e   ciaiiaaes   in   either nartv’

       As correctly noted by the Hotel in its Post Hearing Brief, Addendum iV of the IWA does
not mandate the imposition of punitive damages for non-compliance with an RFI, which
compliance has been directed, in an arbitration Award. The Hotel also correctly posits that
Addendum iv simply grants discretion to the Chairman who may’ impose punitive damages.
The Hotel then goes on to argue that in the absence of agreed upon contractual standards to
guide the Chairmans exercise of discretion the Employer urges the Chairman to follow well
established principles under New York law for determining if punitive damages are
aorjroonate
                                                                                           __________




           Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 8 of 21
                                                                                                                  #201616
     OFFICE OF THE IMPARTIAL CHAIRPERSON                                                                       Carter Hotel
         321 WEST 44TH STREEI SUITE 4()                                                                        Apnl 5. 2016
               NEW YORK, NV 10036                                                                              Page 7 of 12
       TEL: (212) 541.7212 FAX (212) 541.9356



         The New York cases rehed upon by the Hotel do not support its argument that punitive
    damages are inappropriate, in the case before me.

           The general proposition that punitive damages are disfavored and will only be awarded
    in exceptional cases arises from civil tort law. It has no application in a case where the parties,
    each sophisticated in the matter involved have contractually agreed that punitive damages
    may be awarded by arbitration.

          The Hotel urges that I follow the New York Standard for imposing punitive damages (in
tort cases), Under that proposed standard “a finding of a conscious and deliberate disregard
of the interests of others that the conduct may be called willful or wanting is required.” If I were
to apply that standard to the Hotel’s conduct in this case I would find those elements present.
 It is clear to me that the Hotel’s conduct is willful and wanton. It is deliberate, intentional and
contumacious. It is designed to prevent the Union from obtaining information necessary to
provide its services to its members and to hinder organizing and recognition efforts by the
Union, aW to the current and future financial advantage of the Hotel. It intentionally thwarts the
intention of the parties expressed in Addendum IV of the IWA to provide a method for the
peaceful resolution of disputes regarding representation rights and organizational drive with
regard to a company which has or acquires an ownership, management or control interest in
other hotels and 4  concessionaires The Union’s RFI sought this information. Addendum IV is
                    .
intended to promote industrial stability and to encourage the peaceful resolution of disputes in
the hotel industry in New York City and its suburbs.

       In the aforementioned Chelsea Grand Hotel case, I noted the intent of the parties
regarding Addendum IV as follows:
       parties   to   he TWA have vested the Olbee of the Impartial Chairperson with broad anti sweeping
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                                                                                    \ddcnc       “



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  The intent of the parties is clearir expressed in the third WHEREAS clause contained in the current collective bargaining
aereement (IWA). rrhich provides “WHEREAS, the parties hereto, desiring to cooperate to stabilize such labor relation by
es:ahhshne ceneral standards oftr aces, hours of service and other conditions of empio\ mem. and providino arbitral
maehinerr a rierer\ hisputes a1d erievances beta ecu empi’overs and employees may be adiusted a ithout resort to strikes.
ioekuts or other nier1erenee a tb the eontnued smooth opera! ion of the hotel business, have acreed. ursuant to the
            of a \ieaa ratiduin ii iwi.ercieruijo dated January 20, 1012 (hereinafier refOrred to ac the 1012 M(dtl’t. to enter
    an aeree cite r as a he effective :Uiv I 201 2 except as otherwise stated herein). on then vms and conditions
hereinafter stated
         Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 9 of 21
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 OFFICE OF TIlE IMPARTIAL CHAIRPERSON                                                 Carter Hotel
     321 WEST 44TH STREE1 SUITE 4WJ                                                   April 5. 2016
           NEWYORK,NY10036                                                            Page8ofl2
   TEL: (212) 5414212 FAX: (212) 541-9356

()rgJiu/n i a inj etign and N I RB_represrmanunprueedures. emphasis added] IC 2{ J( i8-( 14 at page 5.3
      I I.   ii



       This is not the first case in this Office where punitive damages have been awarded
against a Hotel. My Award #2007-08, included punitive damages against the Chelsea Grand
Hotel. It was confirmed by United States District Court Judge Crotty in September, 2014 and
affirmed by the United States Court of Appeals in November, 2015 (Case No. 14. Civ 3796).
My Award was followed by Chairperson Shriftman in Wnte Inn, New York where he
imposed a penalty of $19,228 per day against that Hotel for failure to provide information.

        The Hotel has exhibited defiance towards the principles of the IWA and the NLRA. It
has attempted to “game the system” by procrastination, delay and meritless arguments. All of
the foregoing is inconsistent with applicable NLRB standards that have been in existence for
       . The parties to this contract have given this Office a broad grant of powers to
many decades
       5
penalize hotel employers for the kind of conduct engaged in by this Employer, a power not
granted by statute to the NLRB, which must seek court enforcement of its orders. I reject the
Hotel’s suggestions of comparison with NLRB prospective awards for further or future
violations of the NLRA because the NLRB does not have punitive jurisdiction for past or future
conduct (Consolidated Edison of N.Yv NLRB, 305 U.S 197 (1938).

        The Hotel argues in its Post Hearing Brief that      the employer’s non-compliance was
                                                           “...



based legitimately and in good faith, upon an effort to reach a global settlement of all
outstanding grievances and matters between the Employer and the Union. For its part the
Employer refrained from furnishing information because the matter, in its view, was still the
subject of ongoing negotiations’. Based on the evidence I find the Hotel’s non-compliance was
illegitimate and in bad faith. While it had the right to seek a global settlement it had no
legitimate right to refuse to comply with my Award from July 2015 to Jan 21, 2016, and
ongoing. I find that no stay” had been agreed to by the Union.

        have ccnsdered all of the other arguments presented by the Hotel regarding the
imposition of punitive damages and find them unconvincing, and unsupported by the evidence

                                AMOUNT OF PUNiTIVE DAMAGES

      Punitive damages in the civil area are meant to deter others from engaging in similar
conduct In civil cases, they also allow a jury to express the public outrage at the perpetrator’s
conduct The award of arge su rs is rot unusual. In the Exxon Valley o I sp I case the jury
         Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 10 of 21
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                                                                                                        Carter Hotel
  OFFICE OF THE IMPARTIAL CHAIRPERSON
      321 WEST 44TH STREET, SUITE 404)                                                                  April 5, 2016
                                                                                                        Page9ofl2
            NEWYORK,NY10036
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awarded punitive damages in the amount of 5 Billion Dollars. That was reduced by the U.S
Supreme Court only because maritime law was involved, Recently, a female television sports
reporter was awarded 55 Million Dollars by a jury against an individual perpetrator and a hotel
where she was spied upon in the nude, Multimillion-Dollar punitive damage awards are not
unusual in civil cases where compensation and punitive damages are sought
                                                                       .
                                                                       6

        In non-litigation situations, parties can agree that if the other party breaks their
agreement, an agreed upon sum must be paid by the violator, as liquidated damages. In
corporate merger and buy out situations large amount of money are agreed to be paid as
“break up fees”, in the event one party declines to proceed and backs out of the deal.
Recently a “break up fee” was involved in the Ace/Chubb merger in the amount of $930 Million
Dollars and the failed merger between Pfizer and Allergan will cost Pfizer an agreed “break up
fee” of 4.5 Billions Dollars, In the stock market, under the rules of the National Futures
Association a violator of the NFA’s rules is subject to a monetary fine not to exceed $250,000
per violation.

       In situations where civil coercive fines have been levied by a court, multimillion-dollar
fines are not unusual. In 1995, in United Mine Workers v Bagwell, the trial court ordered the
Union to pay $52 Million Dollars in fines for violation of a court order
                                                                   .
                                                                   7

      In the case before me, the Union has correctly pointed out that the United States
Supreme Court has recognized that parties’ arbitration agreements permit an arbitrator to
award punitive damages, not withstanding an individual states prohibition to the law
                                                                                 8 (see
MastrobuonovShearson Lehman Hutton Inc.> (Citation omitted>,

       As previously noted a daily penalty of $35,000 was awarded by the undersigned in the
“Chelsea Grand” case for a failure to provide the Impartial Chairperson with information, In the
“Wingate Inn” case, Chairperson Shirftman imposed a penalty on the Hotel in the amount of
$19,228 per day for refusal by the Hotel to provide him with information. I see no difference
between penalizing thi.s Hotel for failure to provide information to the Union, rather than to the
Impartial Chairperson. I choose to follow the precedent of the punitive damages award made
by this Office, which has been upheld by the U.S District Court and the U.S court of Appeals.
       The Union argues that punitive damages should be based on the “Chelsea Grand”
precedent to wit, the average room rate of $89.00 per day multiplied by 200 rooms, which the


  Most recentki wrestler “Hulk Hogan” was awarded 25 Mill.ion Dollars punitive damages in addition to substantial
cornpe.nsatory damages.
  The United St.ates Supreme Court suhse.quentlv ruled that the Union’s violations were serious enoug.h to entitle the Union to
the benetY of a criminal iurv trial.
  There is no such prohibition under New York State law.
         Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 11 of 21
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  OFFICE OF THE IMPARTIAL CHAIRPERSON                                                               Carter Hotel
     321 WEST 44TH STREET, SUITE 400                                                                April 5, 2016
            NEWYORK, NY 10036                                                                      Page 10 of 12
    TEL: (212) 5414212 FAX (212) 5414356

Hotel had available to rent, prior to its closing, This would amount to $17,800 per day, for
each day after July 13, 2015 that the Hotel has failed and continues to fail to fully comply with
the RFI. The Hotel argues that its non-compliance was not sufficiently wanton or egregious to
warrant the “extreme” penalty sought. I have rejected the Hotel’s argument as meritless based
on the evidence.

       The Hotel next argues that “a retroactive penalty of the magnitude sought cannot
withstand scrutiny under relevant legal principles. I disagree. In the “Chelsea Grand” case,
daily punitive damages, of twice the amount sought here by the Union have been upheld only
last year by the U.S Court of Appeals for the Second Circuit
                                                       .
                                                       9

        The Hotel’s argument that punitive damages in an RFI case of over 3 Million Dollars is
“out of bounds where the Union did not seek, and was not awarded compensatory damages
fails, as it fails to recognize the nature and purpose of punitive damage. The Hotel has failed
to submit a single case, or authority to support this argument. Punitive damages are not
compensatory. They are designed to punish offenders, secure compliance, and deter the
offender and others from following the same path. I disagree with the Hotel that ‘the Union’s
request is grossly out of line with judicial penalties for similar infraction.” I repeat, that the
Hotel conduct is contumacious of my Award ordering it to supply the information.

        The economic harm suffered by the Union as a result of the Hotel’s misconduct and
defiance is incalculable and the Union has not requested compensatory damage. The Hotel
however suggest an award based on theoretical harm suffered by the Union. This would be
Union dues of $10.99 per paycheck for 34 bargaining unit employees which would amount to a
daily loss of $82.52 per day on a total of $2,170,276.00 through April 5, 2016. Such penalty, in
my opinion, would have little or no deterrent effect on this Hotel, where the estimated
renovation cost alone, not counting the purchase price of the Hotel, is over $150 Million
Dollars’°, Indeed, the Hotel is fortunate that the average daily room rate asked by the Union is
only $89.00 per day, which is a room a rate at least half of the average room rate for hotels in
the Times Square area. I will use the $89.00 per day room rate, which amounts to punitive
damages of $4.752,600.00 from July 13. 2015 through April 5,2016.

        Finally, the Hotel argues that “the appropriate penalty for non-compliance with an order
to furnish information must be prospective in nature with an opportunity to cure”. This


 Asnotei, by the nit:   its Repi\ Brieb the Hotel there complied and furnished the tnformation 14 da s after the issuance
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                                                                                    #201616
  OFFICE OF THE IMPARTIAL CHAIRPERSON                                            Carter Hotel
      321 WEST 44TH STREET, SUITE 4()J                                           Apnl 5, 2016
            NEWYORK,NY10036                                                     Pagellofl2
    TEL: (212) 541-7212 FAX: (212) 541-9356

argument, again not supported by citation of any authority can only be described as
disingenuous by the Hotel, which has refused to comply since July 13. 2015. It is specio
                                                                                        us.
The Hotel can cure” its defiance at any time in the future, by complying with the RFI,

                                              AWARD

        The Hotel is ordered and directed to pay the sum of $17,800 per day for punitive
damages from July 13, 2015 through April 5, 2016 amounting to $4,752,600.00 and
                                                                                        $17,800
 per day thereafter that it fails to comply with the RFI. The Hotel is ordered and directed
                                                                                            to pay
the sums hereinbefore specified for severance pay and WARN ACT violations. I retain
jurisdiction of these cases to resolve any future disputes with regard to the sums I have
directed to the Hotel to pay.



It is so ordered.
     Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 13 of 21

 OFFICE OF ThE IMPIXrIAL CHAIRPERSON                                            #2016-16
    321 WEST 44TH STREfl SUITE 400                                           Carter Hotel
                                                                             April 5, 2016
          NEWYOfl, NY mu
   TEL (212) 541-7212 FAX: (212)541-9356                                    Page 12 of 12




Dated:      April 5, 2016
            New York, New York

            IRA DROGIN, under the penalties of peijury duly affirms that he is
                                                                               the
            arbitrator described herein, and that he executed the foregoing instr
                                                                                  ument


                                                      ‘:7
                                                    Lj7A

                                       IMPARTIAL CKAfrPERSON
                        Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 14 of 21
                                            Carter Hotel Severance 2015
                                                                                                           Severance     Severance    Emp1cyee           Funds
                  First Name         DOH                Classification           Hotel Rate   Union Rate
 Last Name                                                                                                    Date          lOS      Sever
 Caalcanti          SergiO         6/9/2014               000rpersOn                           16 209      3/24/2015        0 5                -  $              -




 Sepulveda         Ricardo        8/30/2013               DoorpersOn                            15 209      1/4/2015         1 25    S ,29$fl $             324 18

BravoSaldana          LuiS        2/28/2009               0rperson
                                                          0                                    167093      3/24/2015        6 00     $ 6,417 $            1 504 09

  CastaflOn       Chrlstian**     10/17/2014              DoorpersOn                            16 209     3/24/2015        0 50              - $
     Yap           William        9/10/2011              Front Office                          28 8886      1/4/2015        3 25     S            $        657 22

   Nguyen          Cham           1/15/1995        Housekeeping SupeISOr                       29 8703     3/24/2015       2025      $            $       4234 12

   LiranlO          Raf           7/12/2013              Maintenance                            22629       1/4/2015        150      $          4 $        237 60

    puerta         Paula          7/11/ 2013    Maintenance Helper/HousePerson                  21953       1/4/2015        150                   $        230 51

   Paulino         Luis**         7/24/2013     Maintenance Helper/HOuSePerton                  21 953      1/4/2015        150                   $         230.51

     Berot            Jason        7/5/2013                 painter                             30172       1/4/2015        1 50            67.   $        316 81

     Tran            Trang         11/4/2013           ReseatiOn Clerk                         24 1388     3/24/2015        150      $. •         $         253 46

     Tran         Madalena         11/3/2008            Reseatiofl Clerk                        28439       1/4/2015        6 25     $            $       1244 21

    Tapia           Rosaida        6/9/2014             Room Attendant                         21 3817      1/4/2015        0 50     P            $              -




     Cruz         Illuminada       3/17/2014            Room Attendant                         28 5080      1/4/2015        0 75     $            $              -




  Munziano          Rhonda         3/14/ 2014           Room Attendant                         28 5080      1/4/2015        0 75                  $              -




  Cespedes         Celestena       3/12/2014            Room Attendant                         21 3817      1/4/2015        0 75         -‘        $             -




                     Yulissa       2/19/2014            Room Attendant                         21 3817      1/4/2015        0 75      5           $
     Tatis
   Truong              Tiep        2/19/ 2014           Room Attendant                         21 3817      1/4/2015        0 75     5             $                 -




                     Jessica        9/6/2013            Room Attendant                         213817       1/4/2015        1 25     5    74L $             187 09
  Gonzalez
                                   8/26/2013            Room Attendant                         21 3817      1/4/2015        I 25     $    74838 $           187 09
 Chen Yuen         Cai Qiong
  Quilligafla        Emma           7/1/2013            Room Attendant                         21 3817      1/4/2015        1 50     $/            $        224 51

   Medina            Angela        6/19/2013            Room Attendant                         21.3817      1/4/2015        150      5             $        224 51

 Henderson             April       6/14/2013            Room Attendant                         213817       1/4/2015        5o       S    89       $        224 51

  MaineZ           Elizabeth       6/12/ 2013           Room Attendant                         21.3817       1/4/2015       150      $             $        224 51

   Rhodes             Tyrice       6/10/2013            Room Attendant                          21 3817      1/4/2015       1 50     -$‘           $        224 51

     Calle             Luisa        6/7/2013            RoOm Attendant                         213817        1/4/2015       1 50      $            $        224 51

   Nguyen               Khi        4/13/2013            Room Attendant                          213817       1/4/2015        1 75     S            $        261 93

   Arevalo            Maria        3/31/2013            Room Attendant                          213817       1/4/2015        I 75     $  ,   IN $           26193

     Chen               un         3/20/2013            Room Attendant                          21 3817      1/4/ 2015       1 75     5 477O $              261 93

                     Tuyefl         2/6/2013            Room Attendant                          21.3817      1/4/2015       2 00      $     93 $            299 34
      Cao
                                                      Telephone Operator                       2143395     12/19/2014        1 25                  $        187 ss
   Guerrero           Aaron         8/8/2013
                                    7/2/2013          Telephone Operator                       21 43395      1/4/2015        1 50     $    900 $            225 06
    CarillO          Nestor
    Zenon             Diana        6/17/2013          Telephone Operator                       21 43395      1/4/2015        1 50     $    90*t     $       225 06
                                   6/10/2013          Telephone Operator                       2143395       1/4/2015        I 50     $    900,2W $         225.06
Shim-Johnson          Lavon
                                                                                                                                      $ 52,O07.0 $       13,001.75


                                                                                                                                     $                   65,008.76
hotel used 2013 tO Cashier Rate
                                                                                                                                              Total Severance
*used hire date from database
                                                                                                                                                        Carter Hotel WARN Act Claim
                                                                     Last Name       First Name       DOH               Classification           Hourly Rate   WARN Days        Total Due        Health Fund    Pension Func Pre Paid I F Ti a In
                                                                                                                                                                                                                  $876.30       Snn.12        $5    I
                                                                  Villanuesa           Enrico        6/27/13           Accounting Clerk             21.636           60.0     $ 9,087.12         $216769
                                                                  Cavalcant            Sergio         6/9/14            Doorperson                  16.209           60.0         15,560.64      $1,938.07        $783 48       $41.24        35 0
                                                                  Sepulveda           Ricardo        8/30/13            Doorperson                  16.209           60.0         15,560.64      $2,743.79       $1,109.19      $8.3B         5’ 0
                                                                Bravo Saldana            Lu s        2/28/09            Doorperson                 16.7093           60.0     $ 16,040.93        $1,902.34        $76903        $10.48        St 0$      2. ‘1
 Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 15 of 21




                                                                  Castanun           Christian’      10/17/14           000rperson ‘‘               16.209           60.0         15560.64       $185849          $751.30       5u9 54        55:
                                                                                                                                                                                                                 $1,098.50      5,7.82        $5 Os        (‘(II,
                                                                 (amfaidane           Gablel         4/10/13              Front Office*           24.55531           60.0     $ 10,313.23        $2,717.35
                                                                                      ‘Ailliam       9/10/11              Front Office             28.8886           60.0          12 133.21     $2,490 19       $1,006.67      552.98        S”U
        ,,,,,,,                                                           Yap
                                                                      Beinales        Randall        6/21/11              Front Office             28.8886           60.0          12,133.21     $2,423.09        59 /9 55      5’ 1.56       55
                                                                                                      9/1/10              Front Office*            28.8886           600           12,133.21     $2,809.71       $1,135 84      559 78        5., 03
_,                                                                    Velasquez         Jolas
                                                                                      Victoria        4/22/96             Front Office             28.8886           60.0     $ 12,133.21        $2,972.62       $1,201 70      56325         55
                                                                         Trar
                                                                                                                    Front Office Coordinator       29.7563           600      S 12,497.65        $3,331.49       $1,346.77      $70.88        SIC:;
                                                                       Gattou           Driss        11/19/08
                                                                                      Carmen         12/23/13      Housekeeping Supervisor         29.8700           60.0          12,545.40     $2,948. 17      $1,191.81      S”'2 73        55 0’
                                                                       Vasquec
                                                                                                      7/12/13             Maintenance               22.629           60.0            9,504.18    $2,626.20       $1,061.65      $55.88         55              /41      1
                                                                       Liranvo          Raffy
                                                                         Iran             Da           3/9/09             Maintenance               30.172           60.0          12,672 24     $2,977.78       $1,203 78      $33 36         $500
                                                                                                     10/17/07             Maintenance               30.172           60.0          12,672.24     $2,988.18       $1,207.99      $63.58         $“ 00       ‘J .23
                                                                          Lam            Dan
                                                                                                                          Maintenance               30.795           60.0     $ 12,933.90        $3,160.37       $1,277.60       So7 24        $5.Ju     ST nT
                                                                         Iran        Thanh Narn       8/29/07
                                                                                                     10/13/94             Maintenance               30.172           60.0          12,672.24     $2,977.78       51.203 78       $6336         $5 Ci)    34.2.1992
                                                                        Huynh          Thanh
                                                                                                                                                                                                 $3,052 85                      $64.95         $5        3.1
                                                                         Iran             Bac          8/5/87             Maintenance               30.172           60.0     $ 12,672.24                        $1,234.13
                                                                       Salva fl       Ronel*          7/19/13   Maintenance Helper/Houseperson      22.631           60.0      $ 9,505.02        $2,233.58         $902.94       $ (1.52       $5.)
                                                                        Ian Vu       Anthony”         7/19/13   Maintenance Helper/Houseperuon      22.631            60.0     $ 9,505.02         $2,233.58        $902.64       5’ /.Si       $ Cu       5.
                                                                                      Thao**          3/25/13   Maintenance Helper/Houseperson       22.631           60.0     $ 9,505.02         $2,267.28        $91656        $38.23        55 1       32)    (3
                                                                          Lao
                                                                                                      7/11/13   Maintenance Helper/Houseperson       21.953           60.0     $ 9,220.26         $2,284.26        $923.42       S48 60        $5.uO     53 ‘1 .0’
                                                                        Puerta          Paula”                                                                 -
                                                                                         Lois”        7/23/13   Maintenance Helper/Houseperson       21.953           60.0     $ 9,220.26         $2,601.79       $1,051.79      $55 36        Sb 00
                                                                        Paulino
                                                                                       Angeff          6/3/13   Maintenance Helper/Houseperson       22.631           60.0     S     9,505.02     $2,233.58        $902.94       $47.52        53,00     ‘l(T               5
                                                                       Acevedo
                                                                         Birot           Jason         7/5/13                Painter                 30.172           60.0     $ 12,672.24        $2,342.24        $946.86       $49.83        $500
                                                                                                                        Reservation Clerk           24.1388           60.0     $ 10,138.28        $2,131 SO        $861.67       $ 15.3S       $S00        314
                                                                          Tran           Trang         11/4/13
                                                                                                                                                     28.439           60.0          11,944.38     $2,913.20       $1,177.68      5v1.98        $5 22     5-1 5’ $(
                                                                          Tran        Madalena         11/3/08          Reservation Clerk
                                                                                                                        Reservation Clerk            32.185           60.0     $ 13,517.70        $3,176.17       $1,283 98      $67.58        $5.00     54,5, /
                                                                      Lumanglas           Erwin       4/30/08
                                                                                                                                                                                                                   $956 77       $50 36        55 5      (3
                                                                         lap a          Rosaida        6/9/14           Room Attendant              21.3817           60.0     $ 8,980.30         $2,366.74
                                                                                                                        Room Attendant              28.5080           60.0     $ 11,973.36        $2,820.17       $1,130.07      $60.00        $5         (‘12              5
                                                                          Cruz        llluminada       3/17/14
                                                                       Munziano         Rhonda         3/14/14          Room Attendant              28.5080           60.0     $ 11,973.36        $2,853.67       $1,153.61      $60.72        $‘ 00
                                                                                                                         Room Attendant             21.3817           60.0      $ 8,980.30        $2,336.43        $944.51        $49.71       5’ 00      313
                                                                       Cenpedes        Celestina       3/12/14
                                                                                         Yulissa       2/19/14           Room Attendant             21.3817           60.0      $ 8,980.30        $2,152.82        $870.29       545 80        59 CO     53....’
                                                                          Tatis
                                                                                           Tiep        2/19/14           Room Attendant             21.3817           60.0     $ 8,980.30         $2,282.71        $922.80        $48.57       $5.00
                                                                        Truong
                                                                                         Jessica        9/6/13           Room Attendant             21.3817           60.0      $ 8,980.30        $2,155.52        $87138         $45.86       $5 ‘i;
                                                                       Gonzalez
                                                                                       Cai Qiong       8/26/13           Room Attendant             21.3817           60.0      $ 8,980.30        $2,128.40        $860.42        $45 29       $500        (C
                                                                      Chen Yuer
                                                                                          Emma          7/1/13           Room Attendant             21.3817            60.0     $ 8,980.30        $2,148.30         $868.46       $45 71       55 00       3,13
                                                                       Quilligana
                                                                        Med’rra          Angela        6/19/13           Room Attendant             21.3817            60.0     $ 8,980.30        $2,132.31         $862.00       $45 37       5500      STC’.T ($3
                                                                      Henderson            April       6/14/13           Room Attendant             21.3817            60.0     $ 8,980.30         $2,156.43        $871.75       $45.88       $5.00     5’ 2/” C”
                                                                                                       6/12/13           Room Attendant             28.5089            60.0     $ 11,973.74        $2,730.36      $1,103.76       $58.09       $500      1.1,89/21
                                                                       Martinez         Elizabeth
                                                                                                                         Room Attendant             28.5089            60.0     $ 11,973.74        $2,956.43      $1,195 15       $62.90        $500     “‘(2    59
                                                                       Rhodes             Tyrice       6/10/13
                                                                        Calle              Lursa        6/7/13           Room Attendant             28.5089            60.0     $ 11,973.74        $2,792.42      $1,128.85       559.41        $500       .38
                                                                       Nguyen               Khi        4/13/13           Room Attendant              21.3817           60.0     $ 8,980.30         $2,161 87        $873 95       $46.00        5’ 00    ‘.0,0              1
                                                                                                                                                                                                                                  $48.36        $5 ‘L                  .1
                                                                       Arevalo            Maria        3/31/13           Room Attendant              21.3817           60.0     $ 8,980.30         $2,273.12        $918.92
                                                                                                                         Room Attendant              21.3817           60.0     $ 8,980.30         $2,139.25        $86480        545 52        $5.00    “ .053 5/
                                                                         Chum               Jin        3/20/13
                                                                                                                                                                                                                    $876.39       546.13        $5 Cu    (3”..,
                                                                          Cao             T.ryen        2/6/13           Room Attendant              21.3817           60.0      $ 8,980.30        $2,167.90
                                                                                           Tays         7/2/12           Room Attendant              28.1710           60.0     $ 11,831.82        $2,780.38       $1,123.98      $59.16        $5 00
                                                                     PenaRodrrguez
                                                                                         Lourden       10/11/07          Room Attendant              28.5089           60.0     $ 11,973.74        $2,812.95       $1,137 15        59.85       C, u
                                                                          Ortiz
                                                                         MecaJ           Burbuqe       11/12/99          Room Attendant              28.5089           60.0      $ 11,973.74       $2,812 95       $1,137 15        5985        $SCC
                                                                                          Ylonka        6/27/98          Room Attendant              28.5089           60.0      $ 11,973.74       $2,812.95       51,137.15      55985         $5.GC’    5$   ‘   S
                                                                       Rodrigues
                                                                                                                                                                                                                   $1,137 15      S59.85        $5.”i)
                                                                         Espinal     Maria Antonia      1/26/98          Room Attendant              28.5089           60.0      $ 11,973.74       $2,812.95
                                                                        Gueirero          Aaron         8/8/13         Telephone Operator           21.43395           60.0     $     9,002.26     $2,104 43        $850.73       44.78         $500            00
                                                                                          Nestoi         7/7/13        Telephone Operator           21.43395           60.0     $     9,002.26     $2,579 24       $1,042.61        94 88
                                                                         Carillo
                                                                                           Diana        6/17/13        Telephone Operator           21.43395           60.0     $     9,002.26     $2,402.95        $97141          51.13       55.0
                                                                         Zenon
                                                                                           Lavon        6/10/13        Telephone Operator           21.43395           60.0     $     9,002.26     $2,255.15        $91166         547 98       $5 ‘2     5$
                                                                     Slim Johnson
                                                                                                                                                                      TOTAL     $   605,907.01    $138,632.12     $56,042.77    $2,949.62      $275 00   $197,899.51
                                                                                                                                                                   GRAND TOTAL $803,806.52
    Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 16 of 21


 (c) The Commissioner shall not have the authorit to enjoin a plant closing, relocation, mass
layoff or covered reduction in ork hours.

§9214.2    Civil   penalty.


  (a) An employer who fails to give notice as required by the Act and this Part is subject to a
ci ii penalty of not more than five hundred dollars ($500) for each day of the employer’s
iolation. which shall be imposed in the aggregate and not individually for each affected
employee or other part\ that failed to receive notice. The ernploer is not subject to a ciil
penalty under the Act or this Part only if the employer pays each affected employee the total
amount for which the employer is liable under the Act and this Part. including back pay and all
fringe benefits. within three (3) weeks from the employee’s date of layoff. as defined in §921-
 1.1(c). due to a plant closing, mass layoff, relocation, or covered reduction of work hours. Paying
employees their regular wages and benefits over the period of the violation (that exceeds three
weeks) does not exempt the employer from the civil penalty. Employers making such payments
shall include with the final payment of wages or through some other form of notice provided at
the time such payment is made, the following notice:

        “You are hereby notified that, as a result of your employment loss, you may’ be eligible to
receive job retraining, re-employment services, or other assistance with obtaining new
employment from the Ne York State Department of Labor or its orkforce partners. You may
also he eligible for unemployment insurance benefits after your last da of employment. You
can access reemployment information and apply for unemployment insurance benefits on the
Department’s website. and you may also use the contact information provided on the website or
visit one of the Department’s local offices to obtain further information and assistance.”

 (b) The total amount of penalties for which an employer may be liable under the Act and this
Part shall not exceed the maximum amount of penalties for which the employer may be liable
under the federal law for the same violation.

 (c)   Any penalty amount paid by the employer under federal law that the employer
demonstrates to the Commissioner’s satisfaction has been paid prior to the issuance of the
Commissioner’s determination, shall be considered a payment made for the purposes of this rule.

§921-7.3   Violation; liability.

 (a)     An employer who fails to give notice to an employee entitled to recei\e notice under this
Part. is liable to each such employee, including part-time ernploees for:

           Back pa’. at the a’. erage regular rate of eon’pensation recei’ ed k\ the emplo\ cc aurine
 the three tears prior to the date       termination, w he emplotee’s fr 1 rate of .rrnpe a ion,
   fiche’. er      do     the “av go c ular rate           r pensation’ c c ated by d          i
 t a regu a ard ‘.e ime             ge e r    d by e r I ye dun g h t                year’.      t
 date fterminaticn by t to ‘iumber      of days  w  rked over the same  three y  an pen   d  he    ninal
 rate of compensation” is calculated by dividing the amount recei’.ed by the employee in his r
 her last patcheck prior to termination divided by the number of days worked. For alculations
 in’. olving salary or commission emplotees. the number of dats worked is the number of days
 the emplot cc w a in acti’. e empiot ment status.
     Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 17 of 21


  (2)     In the case of an employee who became an employee of his/her current employer
  through a merger or consolidation of his/her former employer with/into his/her current
  employer, such employee’s history of wage and benefit payments from his/her prior employer
  shall be treated as if such wages and benefits were earned with his/her current employer for
  purposes of making any calculations that are required under this Part, including the payment of
  back wages and benefits due.

  (3)      The value of the cost of any benefits to which the employee would have been entitled
  had his or her employment not been lost, including the cost of any medical expenses incurred
  by the employee that would have been covered under an employee benefit plan. Benefits that
  the Commissioner will consider shall include, but not be limited to: health benefits. private
  disability coverage, life insurance. employer paid retirement contributions, and vacation leave.

 (b)    Back pay and other liability under the Act is calculated for the period of the employer’s
violation, up to a maximum of 60 days, or one-half the number of days that the employee was
employed by the employer, whichever period is smaller.

 (c) The amount of an employer’s liability, under this section, shall be reduced by the
following:

 (1)     Any wages, except vacation moneys accrued before the period of the employer’s
 violation, paid by the employer to the employee during the period of the employer’s violation.
 Wages are obtained using the same calculation in paragraph (a)(l) of this section.

 (2)     Any voluntary and unconditional payments made by the employer to the employee that
 were not required to satis’ any legal obligations and that the employer can demonstrate were
 made prior to the issuance of the Commissioners final determination. Such payments shall be
 made by check or through a previously agreed upon direct deposit arrangement. Severance
 packages or other payments required pursuant to employee contracts, collective bargaining
 agreements, through other legal obligations, or under law shall not be credited against liability
 under this section. Promises to make future payments shall not be credited against liability
 under this section.

 (3)     Any payments by the employer to a third party trustee. such as premiums for health
 benefits or payments to a defined contribution plan. on behalf of and attributable to the
 employee for the period of the violation.

 (4)  Any liability paid by the employer under an’ applicable federal lay, governing
 o Saik r f nass la tic plant closings reloation ar cm ered ‘edut ens n \ o”i 0

 (5)     In an administrative proceeding by the Commissioner, any liability paid by the
 employer prior to the Commissioner’s determination as the result of a private action brought
 under this Act.

 (6)    In a private action brought under this Act, any liability paid by the employer in an
 administrative proceeding by the Commissioner prior to the adjudication of such private action.

 id>   An liability incurred h an employer under paragraph   of this section x ith respect to a
detined benent p•enson olan may ne reduced       b\ Itme the employee wHO service ror ajl
                                                    1
                                                    creL
purposes under sucn a olan tor the pe nod or theioiation.
     Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 18 of 21



  (e) The period of the violation, for which the employer is liable to each employee, begins on
the date of the employee’s employment loss and continues up to 90 days after the date the
employee received notice. Where the employer failed to provide notice, the period of the
violation is 90 days. Where the employer claims exemption from the notice requirements under
one of the exceptions provided for in the Act, the Commissioner will consider all information
obtained during the investigation and determine when it would have been practicable for the
employer to provide notice, if at all.

 (f) A WARN Act violation may be shared with other public entities making fitness, responsible
contractor, or due diligence inquiries.


§921-7A    Administrative review.

  (a)       Should the Commissioner identifv any violations of the WARN Act or this Part, he or
she shall notify the employer of such violations and the amounts due for wages, benefits, and/or
penalties associated with such violations. Such violations may, in the Commissioner’s
discretion, be set forth in the first instance in either a Notice of Violation or a Notice of Violation
accompanied by a Notice of Hearing, In no event shall the Commissioner issue an order or
determination addressing such violations without having first held a hearing in the matter, except
in those cases in which the employer has waived its right to such hearing pursuant to a settlement
upon terms acceptable to the Commissioner

 (b) Hearings. Administrative hearings for a violation of the State WARN Act shall be
conducted by an employee of the Department of Labor designated by the Commissioner to be the
hearing officer, who shall not be bound by statutory rules of evidence or by technical or formal
rules of procedure. The procedure found in 12 NYCRR Part 701, Procedural Rules for Hearings,
shall be the sole and exclusive procedure for the conduct of such hearings, notwithstanding any
other provision of law. The hearing officer, as soon after the conclusion of the hearing as
possible, on the basis of the record made in the proceeding, shall submit his or her report and
recommendation to the Commissioner, who shall promptly thereafter issue his or her order and
determination.

  (c)   Determination and Order of the Commissioner. If the Commissioner shall determine that
an  employer  has violated any of the requirements of the Act or this Part, the Commissioner shall
issue an order which shall include any penalties assessed by the Commissioner and file a notice
of entry thereof in the office of the Commissioner.



  Within thirty (30) days of the filing of a notice of entry of the order in the office of the
Commissioner, any party aggrieved, thereby may commence a proceeding for the review thereof
pu.rsuant to article 78 of the Civil Practice Law and Rules. Such proceeding shall be commenced
directly in the Appellate Division of the Supreme Court. If such order is not reviewed, or is so
reviewed and the final judicial decision is in favor of the Commissioner, the Commissioner may
file with the county clerk of the county where the employer resides or has a place of business the
order of the Commissioner containing the amount found to be due. The filing of such orders
shall have the full forc.e and effect of a judgment duly docketed in the office of such clerk. The
        Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 19 of 21


order may be enforced by and in the name of the Commissioner in the same manner. and with
like effect, as the prescribed by the CPLR for the enforcement of a money judgment.

§921-7.6     Distribution of back pay.

 The Commissioner shall distribute to all employees entitled to notice under the Act and this Part
an back pay and the value of any benefits recovered from an employer who did not provide
such notice.

§921-7.7     Admissibility of decision or order,

 No decision or order issued pursuant to this Act shall be admissible or used in evidence in any
subsequent court proceeding except in an action by the Commissioner or the employer to
implement, enforce or challenge a determination made by the Commissioner pursuant to this
Act.


                         SUBPART 921-8
CONFIDENTIALITY OF INFORMATION OBTAINED BY THE COMMISSIONER OF
                            LABOR

§921-8.1    Confidentiality of information obtained by the Commissioner of Labor.

  (a)  Except as otherwise provided in this subpart information obtained by the Commissioner
through the administration of the Act from an employer and which is not otherwise obtainable by
the Commissioner under the Labor Law or rules or regulations promulgated thereunder shall

  (1)      he confidential; and

 (2)       not be published or open to public inspection.

  (b)   Prior to public disclosure of any information otherwise deemed confidential pursuant to
this subpart in connection with any court action or proceeding, the employer shall be given a
reasonable opportunity to make application to the court to protect the informations
confidential itv.

 (c)    Names and addresses of employees provided to the Commissioner pursuant to Labor Law
section 860-b and 12 NYCRR 921-2 shall remain confidential.

 (d)    \otwithstanding the provisions set forth in paraeraphs a) and c) of this subpart.
information obtained by the Commissioner from the \VAR notice required b the Act or this
Part shall not be considered confidential.


                                SUBPART 921-9
                  PRESERVATION OF OTHER RIGHTS AND REMEDIES

§921-9.1    Other Rights.
     Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 20 of 21


        The provisions of this Part, including hut not limited to notice requirements, shall not be
used to alter, abridge, or affect the employment status or rights of any employee entitled to relief
under this Act, where the employee’s status or rights have been otherwise defined or determined
by statute, contract or collective bargaining agreement. The rights and remedies provided to
employees by the Act and its regulations are in addition to, and not in lieu of. any other
contractual or statutory rights and remedies of the employees, and are not intended to alter or
affect such rights and remedies, except that the period of notification required by the Act shall
run concurrently with any period of notification required by contract or any other statute.

           Nothing in this part shall be read to abridge, mitigate, reduce, remove, or otherwise
affect an employer’s responsibility to comply with the notice requirements set forth in the federal
rorker Adjustment and Retraining Notification Act and regulations promulgated thereunder.
                                                                                                      rage   i   oi   I
                Case 1:16-cv-05248-LAP Document 43-7 Filed 06/05/17 Page 21 of 21

Subj:        Fwd: Carter
Date:        1/13/2016 12:59:52 PM, Eastern Standard Time
From:        JOCHETjjIoF. corn
To:          rnvhtcp

We have still not received a response to the emaH below, please advise. I want to resolve this.



  From: JOCHETRIT@aoL corn
  To: roynyhtc.org
  Sent: 12/9/2015 11:51:26 kM. Eastern Standard Time
  Subj: Fwd: Carter

  have not received a response to the email below, please advise



    From: JOCHETRlT@aol.com
    To: roynyhtc,org
    8CC: lilly@chetritgroup.com
    Sent: 11/2412015 4:03:53 P.M. Eastern Standard Time
    Subj: Carter

    Peter,

    I have received the Voluntary Settlement Agreement (VSA). My understanding was that the amount
    in the VSA would cover all outstanding matters and monetary issues between the Carter Hotel and
    your office,

    According to our discussion, the items covered were the following:

         Warn Act and Severance
         RFI for ownership information
         RFI for work to be performed
         Fines for work already performed

    Even though we both have our own view on these matters that we did not have to pay anything
                                                               --




    close to this amount for the sake of our relationship, we wanted to resolve this issue once and
                         —




    for all: we made a settlement agreement that covers it all.

    Joseph




                                 Wednesday. March 02, 2016 AOL: ,TOCF1ETR1T
